      Case 2:10-cr-00026-JMS-CMM                           Document 954               Filed 02/12/15               Page 1 of 1 PageID #:
                                                                 3897
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)            Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                        Southern District
                                                      __________ District of
                                                                          ofIndiana
                                                                             __________

                    United States of America
                               v.                                          )
                             April Bilskie                                 )
                                                                           )    Case No: 2:10CR00026-021
                                                                           )    USM No: 10292-028
Date of Original Judgment:                            04/30/2012           )
Date of Previous Amended Judgment:                                         )    Sara J. Varner
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ✔   u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           u DENIED. u       ✔ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of   60                      months is reduced to 46 months*                           .
                                             (Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated                          04/30/2012              shall remain in effect.
IT IS SO ORDERED.

Order Date:                  02/12/2015
                                                                                                         Judge’s signature


Effective Date:              11/01/2015                                 Honorable Jane E. Magnus-Stinson, U.S. District Court Judge
                     (if different from order date)                                                    Printed name and title
                                                                                                                                   A CERTIFIED TRUE COPY
                                                                                                                                   Laura A. Briggs, Clerk
                                                                                                                                   U.S. District Court
                                                                                                                                   Southern District of Indiana

                                                                                                                                   By
                                                                                                                                                         Deputy Clerk
